         Case 8:05-cr-00154-SDM-TBM Document 119 Filed 08/02/06 Page 1 of 8 PageID 287
A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case



                                 UNITED STA TES DISTRICT COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                  TAMPA DIVISION



UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE

                                                                      CASE NUMBER:       8:05-cr- 154-T-23TBM
                                                                      USM NUMBER:        39527-083
VS   .

DONALD HICKLIN, JR.
                                                                      Defendant's Attorney: Darlene Barror, cja

THE DEFENDANT:

-
X pleaded guilty to counts ONE and TWO of the Indictment.


TITLE & SECTION                           NATURE OF OFFENSE                            OFFENSE ENDED                     COUNT

18 U.S.C. 5 371                           Conspiracy to Steal United States Mail       December 2 1, 2004                 ONE
                                          and to Commit Bank Fraud

18 U.S.C. 8 1344 and 2                    Bank Fraud                                   May 29, 2002                       TWO


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to t
Sentencing Reform Act of 1984.

X Counts three, four, seven, eight, nine, ten, eleven, fourteen, and fifteen are of the indictment dismissed in accordance with the
plea agreement.

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                       Date of Imposition of Sentence: July 27, 2006




                                                                                            STEVEN D. MERRYDAY                         1
                                                                                       UNITED STATES DISTRICT JUDGE

                                                                                       DATE:   *I%
        Case 8:05-cr-00154-SDM-TBM Document 119 Filed 08/02/06 Page 2 of 8 PageID 288
A 0 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:           DONALD I-IICKLIN, JR.                                                                            Judgment - Page 2 of 5
Case No. :           8:05-cr- 154-T-23TBM

                                                                IMPRISONMENT

                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of THIRTY (30) MONTHS as to counts one and two of the Indictment, both terms to run
concurrently.




 X The court makes the following recommendations to the Bureau of Prisons: (1) incarceration as near to Charlotte, NC as
possible and (2) participation in the 500-Hour Comprehensive Drug Treatment Program



- The defendant is remanded to the custody of the United States Marshal.
- The defendant shall surrender to the United States Marshal ibr this district.

            - at - a.m.1p.m. on -.
            - as notified by the United States Marshal.

      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

            -
            X as notified by the United States Marshal, no sooner than August 31, 2006.
            - as notified by the Probation or Pretrial Services Office.



                                                                        RETURN

            I have executed this judgment as follows:




            Defendant delivered on                                                to

-      at                                                                         , with a certified copy of this judgment.


                                                                                          United States Marshal

                                                                            By:
                                                                                          Deputy United States Marshal
         Case 8:05-cr-00154-SDM-TBM Document 119 Filed 08/02/06 Page 3 of 8 PageID 289
A 0 245B (Rev. 06/05)Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:           DONALD HICKLIN, JR.                                                                          Judgment - Page 3of 6
Case No. :           8:OS-cr- 154-T-23TBM
                                                             SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of THIRTY-SIX (36) MONTHS
as to count one and SIXTY (60) MONTHS as to count two, both terms to run concurrently.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 5 92 1.

           The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

           The defendant shall cooperate in the collection of DNA as directed by the probation officer.

           If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with
           the Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.
                                              STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not lcave the judicial district without the pern~issionof the court or probation officer;

           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
           month;

           the defendant shall answcr truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

           the defendant shall support his or her dependents and meet other family responsibilities;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

           the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, usc. distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;

           thc defendant shall permit a probation officer to visit him or her at any time at homc or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;

           thc defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

           as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
           or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
           with such notification requirement.
        Case 8:05-cr-00154-SDM-TBM Document 119 Filed 08/02/06 Page 4 of 8 PageID 290

A 0 2458 (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)

Defendant:            DONALD HICKLIN, JR.                                                               Judgment - Page 4 of 6
Case No. :            8:05-cr-154-T-23TBM
                                              SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:

X
-          The defendant shall participate in a program (outpatient and/or inpatient) for treatment of narcotic addiction or drug or alcohol
           dependency and follow the probation officer's instructions regarding the implementation of this court directive. This program
           may include testing for the detection of substance use or abuse not to exceed an amount determined reasonable by the
           Probation Office's Sliding Scale for Substance Abuse Treatment Services. Upon completion of a drug or alcohol dependency
           treatment program, the defendant is directed to submit to testing for the detection of substance use or abuse not to exceed 104
           times per year.

-
X          Until such time as the restitution is paid in full, the defendant shall be prohibited from incurring new credit charges, opening
           additional lines of credit, acquisitions or obligating himself/herself for any major purchases without approval of the probation
           officer.

-
X          The defendant shall provide the probation officer access to any requested financial information.
         Case 8:05-cr-00154-SDM-TBM Document 119 Filed 08/02/06 Page 5 of 8 PageID 291
A 0 245B (Rev 06/05) Sheet 5 - Criminal hlonetary Penalties (Judgment in a Criminal Case)

Defendant:            DONALD HICKLIN . JR.                                                                      Judgment - Page 5 of 6
Case No. :            8:05-cr-154-T-23TBM

                                                  CRIMINAL MONETARY PENALTIES

           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                 Assessment                                 Fine                         Total Restitution

           Totals:               $200.00                                    $ waived                     $112,721 .19

-          The determination of restitution is deferred until                    .     An Amended Judgnlent ir~a Crii~zir~nl
                                                                                                                          Case ( A 0 245C) will
           be entered after such determination.
-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial. payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the prior~tyorder or percentage pa ment column below. However. pursuant to 18 U . S . C . 5
           3664(i). all non-federal victims must be paid before the dnlted States.

Name of Pavee                                         Total Loss*                      Restitution Ordered               Priority or Percentage
Bank of America                                       $                                $70,612.09
Attention: Gary Collins
Corporate Investigations
390 N. Orange Avenue
Orlando, FL 32801
Amsouth Bank
Attention: Roderick Franklin
13537 Feather Sound Drive
Clearwater, FL 33782
Colonial Bank
Attention: Joe Rowe
1 Commerce Street
Montgomery, AL 36 101
Wachovia Bank
Attention: Restitution Coordinator
Mail Code VA 9613
1021 E. Cary Street
Richmond, VA 23219
First Citizens Bank                                                                         4,834.00
National Bank                                                                               4,500.00

                                 Totals:               I!-                             $1 12,721.19

  -          Restitution amount ordered pursuant to plea agreement $
  -          The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fine is paid in full
             before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
             6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).
  -          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -          the interest requirement is waived for the - fine                     - restitution.

           -          the interest requirement for the - fine - restitution is modified as follows:

* Findings for the total amount of losses are required under Cha ters 1O9A, 110, 1 lOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
         Case 8:05-cr-00154-SDM-TBM Document 119 Filed 08/02/06 Page 6 of 8 PageID 292
A 0 235B (Rev 06/05) Sheel 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:            DONALD HICKLIN, JR.                                                          Judgment - Page 6of 6
Case No. :            8:05-cr- 154-T-23TBM


                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                      Lump sum payment of $ 200.00 (special assessment) due immediately, balance due
                                 -not later than                          , Or
                                 -in accordance - C, - D, - E or - F below; or
                      Payment to begin immediately (may be combined with -C , -D, or -F below); or
                      Pay~nentin equal                   (e .g., weekly, monthly, quarterly) installments of $             over a
                      period of          (e .g ., months or years), to commence               days (e.g., 30 or 60 days) after the
                      date of this judgment; or
                      Payment in equal                (e.g ., weekly, monthly, quarterly) installments of $               over a
                      period of
                                   , (e.g., months or years) to commence                      (e.g. 30 or 60 days) after release
                      from imprisonment to a term of supervision; or
                      Payment during the term of supervised release will commence within                          (e.g., 30 or
                      60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                      the defendant's ability to pay at that time, or
                      Special instructions regarding the payment of criminal monetary penalties:
                      Restitution: $112,721.19 - While in Bureau of Prisons custody. the defendant shall either (1) pay at least
                           quarterly if the defendant has a non-Unicor job or (2) ay at least 50% of his monthly earnings if the
                      defendant has a Unicor job. U on release from custody, tRe defendant shall pay restitution at the rate of
                                                               B
                      $250 per month. At any time uring the course of post-release supervision, the victim, the government,
                      or the defendant, may noti the Court of a material change in the defendant's ability to pay, and the Court
                                                        X
                      may adjust the payment sc edule accordingly.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during unprisonment. All criminal monetary penalties, except those payments made through the Federal
Lureau of Prisons' Inmate Financial Responsibility Program, are ~nadeto the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
X          Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:
           Donald Hicklin, Jr. (2), defendant - Case No 8:05-cr-154-T-23TBM: $1 12,721.19
           Jonathan R. Counts (1), co-defendant - Case No. 8:05-cr-154-T-23TBM: $1 12,721.19
           Jarvis Z. Wright (3), co-defendant - Case No. 8:05-cr-154-T-23TBM: $1 12,721.19

-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
X
-          The defendant shall forfeit the defendant's interest in the following property to the United States:
           $84,500.00 pursuant to the Forfeiture Money Judgment (Doc. 95) attached.
Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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        Case 8:05-cr-00154-SDM-TBM        Document 95      Filed 05/30/2006     Page 1 of 2



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

   UNITED STATES OF AMERICA,

           Plaintiff,

   v.                                        :   CASE NO.: 8:05-cr-I 54-T-23TBM

   DONALD HICKLIN, JR.,

           Defendant.


                               FORFEITURE MONEY JUDGMENT

           THIS CAUSE comes before the Court on Motion of the United States of America

   for Entry of a Forfeiture Money Judgment in the amount of $84,500.00, which, upon

   entry, shall be a final order of forfeiture as to defendant Donald Hicklin, Jr. The Court.

   being fully advised in the premises, hereby finds as follows:

           1.      That the defendants obtained $84,500.00 from the conspiracy to commit

   bank fraud, contrary to the provisions of 18 U.S.C.§ 1344, in violation of 18 U.S.C.

   5 371. as charged in Count One of the lndictment.
           2.      That pursuant to his plea agreement, defendant Donald Hicklin, Jr. pled

   guilty to Counts One and Two of the lndictment and agreed to the entry of a forfeiture

   money judgment in the amount of $84,500.00 USD, pursuant to the provisions of

   18 U.S.C. 3 982(a)(2)(A), for which defendant Donald Hicklin, Jr. is jointly and severally

   liable with defendants Jarvis 2. Wright and Jonathon R. Counts. Accordingly, it is

   hereby

           ORDERED, ADJUDGED and DECREED that the United States' motion is

   GRANTED.
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     Case 8:05-cr-OOl M-SDM-TBM          Document 95      Filed 05/30/2006     Page 2 of 2



         It is FURTHER ORDERED that defendant Donald Hicklin, Jr., is jointly and

  severally liable to the United States of America, along with defendants Jarvis Z. Wright

  and Jonathon R. Counts, for a forfeiture money judgment in the amount of $84,500.00

  USD, pursuant to the provisions of 18 U.S.C. § 982(a)(2)(A).

         The Court shall retain jurisdiction to enter any orders necessary for the forfeiture

  and disposition of any property, belonging to the defendant, that the United States is

  entitled to seek as substitute assets up to the amount of such forfeiture money

  judgment, and to entertain any third party petitions that may be filed in those

  proceedings.

         DONE and ORDERED in Chambers in Tampa, Florida, this            BKday of


                                            HON. STEVEN D. MERRYDAY 1
                                            UNITED STATES DISTRICT JUDGE


  Copies to: Anita M. Cream, AUSA
             Attorneys of Record
